Exhibit B
                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF UTAH


 SHANNON ARNSTEIN; DANA BASSETT;
 MARTIKA          GARTMAN;     SUELLEN
 HENDRIX; DEBRA MACKLIN; JEANINE
 MARK; MICHELLE MEINHOLD; MARIE
 MICHELS; JILLI OYENQUE; BARBARA PROPOSED SCHEDULING ORDER
 PORTER; and ELIZABETH WUEBKER,
 individually and on behalf of all others
 similarly situated,,

         Plaintiffs,
 v.                                           Case No. 2:24-cv-00344-RJS

 SUNDANCE HOLDINGS GROUP, LLC,                Chief Judge Robert J. Shelby

                                              Magistrate Judge Daphne A. Oberg

         Defendant.


        Under Fed. R. Civ. P. 16(b), the Local Rules of Practice, and the Order to Propose

Schedule, if applicable, an Attorney Planning Meeting has been held, and the Attorney

Planning Meeting Report has been completed. The following deadlines may not be

modified without a court order consistent with Fed. R. Civ. P. 16(b)(4) and DUCivR 83-5.

               DEADLINES ARE 11:59 P.M. ON THE DATE INDICATED UNLESS

                          EXPRESSLY STATED OTHERWISE


1.    PRELIMINARY MATTERS
       a.     Fed. R. Civ. P 26(a)(1) Initial Disclosures: (the parties   01/31/2025
              have exchanged initial disclosures or will exchange no
              later than the date provided)

2.    FACT DISCOVERY LIMITATIONS AND DEADLINES
       a. Fact Discovery Limitations—
          1. Maximum number of depositions by Plaintiff:                  10
          2. Maximum number of depositions by Defendant:                  18
             3.    Maximum number of hours for each deposition:                 7
                   (unless extended by agreement of parties)
             4.    Maximum interrogatories by any party to any party:           25
             5.    Maximum requests for admissions by any party to any          25
                   party:
             6.    Maximum requests for production by any party to any          50
                   party:

        b.   Other Fact Discovery Deadlines—
             1. Deadline to serve written discovery:                            10/10/2025
             2. Deadline for fact discovery to close:                           11/21/2025

3.     AMENDING OF PLEADINGS AND JOINING OF PARTIES1
        a. Deadline to file a motion to amend pleadings—
           1. Plaintiff:                                                        03/30/2025

        b.   Deadline to file a motion to join additional parties—
             1. Plaintiff:                                                      03/30/2025

4.     EXPERT DISCOVERY
        a. Filing of Notice of Designation required by DUCivR 26-1(a)(2)—
           1.       Parties bearing the burden of proof:                11/03/2025
           2.       Parties not bearing the burden of proof:            11/17/2025

        b.   Service of Fed. R. Civ. P. 26(a)(2) Disclosures and Reports—
             1.     Parties bearing the burden of proof:                  11/24/2025
             2.     Parties not bearing the burden of proof:              12/08/2025
             3.     Rebuttal reports, if any:                             01/12/2026

        c.   Deadline for expert discovery to close:                            02/13/2026

7.     OTHER DEADLINES AND TRIAL-RELATED INFORMATION2
        a. Deadline for filing dispositive or potentially                           04/15/2026
           dispositive motions: (including a motion to exclude
           experts when expert testimony is required to
           resolve the motion)
        b. Deadline for filing a request for a scheduling                           00/00/00
           conference for the purpose of setting a trial date if
           no dispositive motion are filed:
        c. Deadline for filing Motion for Class Certification                       12/13/2025
        d. Deadline for filing Opposition                                           02/06/2026
        e. Deadline for filing Reply                                                03/06/2026


1
    Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).
2
    The court will enter the date in Section 7.b.


                                                  2
SO ORDERED this _________ day of ______, 2025.


                             BY THE COURT:



                             _____________________________________
                             The Hon. Daphne A. Oberg
                             United States Magistrate Judge




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